   Case: 1:19-cv-03851 Document #: 37 Filed: 08/11/19 Page 1 of 3 PageID #:4986




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


  WHAM-O HOLDING, LTD. and
  INTERSPORT CORP. d/b/a WHAM-O,
                                                                 Case No.: 1:19-cv-3851
         Plaintiffs,
                                                                 Judge Matthew F. Kennelly
  v.
                                                                 Magistrate Judge Jeffrey Cummings
  THE PARTNERSHIPS AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                    DEFENDANT
               304                                       Joy Store
               107                           Zhongshan B.O.B Gift Co., Ltd.
                95                Ningbo Hi-Tech Zone Sengfeng Imp. & Exp. Co., Ltd.
               121                                     bakingdream
               161                                   homechoice_sky
               162                                    homedecor_sky
               163                                     homesale_sky
               179                                      kitchen_diy
               180                                   kitchenwareworld
                80                                      sunny52094
               126                                      best5star-0
               174                                       juzis1985
   Case: 1:19-cv-03851 Document #: 37 Filed: 08/11/19 Page 2 of 3 PageID #:4986




            442                                   jayce1992
            287                               God of fortune
            260                                    dealforu
            356                               SparkleShine
            408                                     YuTo
            300                             Jane jewelry home
            153                                   goonline55
                           153       goonline55




DATED: August 10, 2019                      Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            1033 South Blvd., Suite 200
                                            Oak Park, Illinois 60302
                                            Telephone: 708-203-4787
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-03851 Document #: 37 Filed: 08/11/19 Page 3 of 3 PageID #:4986




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 10, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
